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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


1ST TRANSPORT, LLC d/b/a
Tara Trans,

      Plaintiff,

v.                                               CASE NO. 8:19-cv-2595-T-02SPF

ACCESS 2 CARE, LLC d/b/a
American Medical Response,

     Defendant.
________________________________/


                                      ORDER

      This case comes before the Court on Defendant’s motion to dismiss for lack

of jurisdiction (Dkt. 9), and Plaintiff’s response in opposition (Dkt. 11). The

magistrate judge issued a report recommending that the motion be granted in part

and Plaintiff be given an opportunity to conduct limited jurisdictional discovery.

Dkt. 17. The time for filing objections has passed.

      The Court reviews the legal conclusions de novo in the absence of an

objection. See LeCroy v. McNeil, 397 F. App’x 554, 556 (11th Cir. 2010) (citation

omitted); Cooper-Houston v. S. Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994). The

magistrate judge, in a thorough analysis, found the amended complaint did not set
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forth federal diversity jurisdiction. Plaintiff requested leave to conduct

jurisdictional discovery to rectify any deficiencies in the allegations regarding

citizenship. For the reasons explained in the Report and Recommendation, and in

conjunction with an independent examination of the file, the Court concludes that

the Report and Recommendation (Dkt. 17) should be adopted as part of this Order,

confirmed, and approved in all respects.



      ACCORDINGLY, the Court rules as follows:

      1.     Defendant’s motion to dismiss for lack of jurisdiction (Dkt. 9) is

granted in part and denied in part. The motion is granted to the extent Plaintiff did

not sufficiently allege diversity of citizenship. Defendant will file a renewed

motion to dismiss after jurisdictional discovery is concluded and if Plaintiff files an

amended complaint.

      2.     Plaintiff’s request to conduct jurisdictional discovery is granted in part

and denied in part. Plaintiff may propound a limited interrogatory on Defendant,

regarding the citizenship of its members, on or before June 2, 2020. Defendant

should respond within fourteen (14) days of service.

      3.     Plaintiff may file an amended complaint, depending on Defendant’s

response, to correct its deficient citizenship allegations consistent with the Report
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and Recommendation (Dkt. 17) on or before June 27, 2020. Failure to do so will

result in dismissal of this case without further notice.

      DONE AND ORDERED at Tampa, Florida, on May 19, 2020.




Copies furnished to:
Counsel of record and unrepresented parties
